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                                     UNITED STATES DISTRICT COURT
20                                 NORTHERN DISTRICT OF CALIFORNIA
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      CHASOM BROWN, WILLIAM BYATT,                          Case No.: 4:20-cv-03664-YGR-SVK
22    JEREMY DAVIS, CHRISTOPHER
      CASTILLO, and MONIQUE TRUJILLO                        SECOND SUPPLEMENTAL REPORT
23    individually and on behalf of all similarly
      situated,                                             OF PLAINTIFFS’ EXPERT JONATHAN
                                                            HOCHMAN
24
                         Plaintiffs,
25
      vs.
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      GOOGLE LLC,
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                         Defendant.
28
                                       SECOND SUPPLEMETAL REPORT OF PLAINTIFFS’ EXPERT JONATHAN HOCHMAN
                                                                            Case No. 4:20-cv-03664-YGR-SVK
     11706850v1/103088
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1           Pursuant to the Court’s September 7, 2023 Order (Dkt. 988) and Civil Local Rule 79-5,
2    Plaintiffs respectfully file the Second Supplemental Report of their expert Jonathan Hochman,
3    dated June 20, 2023. Plaintiffs are filing the report under seal because it discusses information
4    Google has designated as “Confidential” and “Highly Confidential” under the Protective Order.
5    Under Civil Local Rule 79-5(f), Google, as the designating party, bears the burden of establishing
6    that the designated material is sealable.
7    Dated: September 8, 2023                     Respectfully submitted,
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                                                                        Case No. 4:20-cv-03664-YGR-SVK
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                         SECOND SUPPLEMETAL REPORT OF PLAINTIFFS’ EXPERT JONATHAN HOCHMAN
                                                                Case No. 4:20-cv-03664-YGR-SVK
